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 4                                         IN THE UNITED STATES DISTRICT COURT FOR THE

 5                                               EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                                 )
                                                               )
 8                                   Plaintiff,                )       No. 1:08-CR-00031 AWI
                                                               )
 9                   vs.                                       )       ORDER OF RELEASE
                                                               )
10   VICTOR RIVAS,                                             )
                                                               )
11                                             Defendant.      )
                                                               )
12
                     The above named defendant having been sentenced to Time
13
     Served on October 13, 2009,
14
                     IT IS HEREBY ORDERED that the defendant shall be released
15
     forthwith. A certified Judgment and Commitment order to follow.
16

17
     IT IS SO ORDERED.
18
     Dated:                 October 13, 2009                         /s/ Anthony W. Ishii
19   0m8i78                                                 CHIEF UNITED STATES DISTRICT JUDGE

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